        Case 1:21-cv-00715-ELR Document 17 Filed 05/24/21 Page 1 of 2




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

SUNRISE BUILDERS, INC.,                 *
                                        *
             Plaintiff,                 *
                                        *
      v.                                *            1:21-CV-00715-ELR
                                        *
CLAYTON COUNTY, GEORGIA;                *
CLAYTON COUNTY BOARD OF                 *
COMMISSIONERS; JEFFREY                  *
TURNER, SONNA SINFLETON                 *
GREGORY, GAIL HAMBRICK,                 *
FELICIA FRANKLIN, and DEMONT *
DAVIS, in their individual and official *
Capacities; CLAYTON COUNTY              *
ZONING ADVISORY GROUP; and              *
HERMAN TURNER, ADDIE                    *
WHITTAKER, KEVIN LEWIS, KEITH *
PARKER, ARNOLD GOODSON,                 *
HERSHEL TRAWICK, and CARLTON *
HOLLOWAY, in their individual and       *
Official capacities,                    *
                                        *
             Defendants.                *
                                        *
                                    _________

                                     ORDER
                                     _________

      The Court DIRECTS Plaintiff Sunrise Builders, Inc., to file a Certificate of

Interested Persons and Corporate Disclosure Statement in accordance with Local

Rule 3.3 within seven (7) days from the date of entry of this order. If Plaintiff fails

to file the Certificate of Interested Persons and Corporate Disclosure Statement
        Case 1:21-cv-00715-ELR Document 17 Filed 05/24/21 Page 2 of 2




within the seven (7)-day period, the Court DIRECTS the Clerk to submit this action

to the undersigned.

      SO ORDERED, this 24th day of May, 2021.


                                            ______________________
                                            Eleanor L. Ross
                                            United States District Judge
                                            Northern District of Georgia




                                        2
